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ease 3:13-cr-00623-S WSHMES|§H&DMSZISCM 1 of'l PagelD 60
t NoRTHERN DISTRICT oF TEXAS

UNITED STATES OF AMERICA
V.

DUsTIN RALL(3)

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DALLAS DIVISION

Case No. 3:18-cr~00623-S *SEALED*

ENTRY OF APPEARANCE OF COUNSEL

I Wish to enter my appearance as retained counsel for the above-named defendant(S) in this cause. 3

".

l understand that it is my duty to continue to_represent the named defendant(s) in connection With all matters relating to this
case, and in connection with all proceedings therein in this Court; to assist him_with any appeal Which he desires to perfect,
and to represent him on appeal until a final judgment has been entered; unless and until, after Written motion filed by me, I am

relieved by Order of the Court.

ln all cases an arraignment is scheduled promptly after the return or filing of an indictment or information, at Which time the
defendant must enter a plea. Your attention is directed to Rule 12, Federal Rules of Criminal Procedure, pertaining to pretrial

motions

DATED; f?) day of Qaae,t¢n ,aD/'%

 

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DEC l 8 20|8

 

 

 

CBLERK, U.S. DISTRICT COURT
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Signature of Attomey

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Attomey Name (Please Print)

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